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                                                                                                           Whirlpool Corporation

                                        WhirIPcQQ~                                                         2000 NORTH M-63
                                                                                                           BENTON HARBOR MI 49022-2692
                                                                                                           1-888-539-2372


General

Name:                Charlotte Shannon                                Pay Period:               07/3012017 - 08/12/2017                   Federal                            Michigan
Address:             2209 Charles Dr.                                 Check Date:               08/1112017                                 Marital Status:     S                 Marital Status:      S
                     StevenSVille MI49127                             Net Pay:                  1,094.06                                   Allowances:         10                Allowances:          10
                                                                                                                                           Add l Amount:       0.00              Addl Amount:         0.00
Person Number: 92028423
Cost Center:         25504 TCS Order Mgmt - Hil

Paycheck Summary

                                                  Gros. Pay                    Deductions                        Tax.s                  Net Pay                Fad Taxable                         FICA Taxable
Current                                             1,577.36                        366.84                       116.46                 1,094.06                      1,380.55                         1,522.51
YTD                                                26,994.15                     5,341.45                      2,929.79              18,722.91                      23,487.54                         25,673.91



Description                                                                                                                                                                                        YTDAmount


Salary                                                                                                                      19,874.61        Withholding                                                   772.34
Bonus Non-Exempt                                                                                                             1,308.27        Social Security                            94.39          1,591 .78
Wel l ness Rebates                                                                                                             75.00         Medicare                                   22.07              372.27
Award                                                                                                                         820.00       Michigan
Vacation                                                                                                      146.00                         Withholding                                                   193.40
Unpaid                                                                                                         -31.35         -618.22
Paid Excused Absence                                                                                           19.00
Regular NEX                                                                                                     3.22           63.50
Overtime 1 1/2 NEX                                                                                              3.65          107.97
STD - Salaried                                                                           1,577.36                            5,363.02




                      Before Tax Deductions                                                     After Tax Deductions                                            Other Taxable Items
Description                             Amount       YTDAmount        Description                            Amount       YTDAmount        Description                            Amount           YTDAmount
401(k)                                   141.96          2,186.37     U.Way Donation                            2.77           44.32       EE GTLI Taxable                             3.50                  56.00
AD&D                                       0.60                9.60   Loan 03                                                1,390.20
Medical                                   41.23          1,069.21     Loan 04                                 162.56          325.1 2
Dental                                    11.70              187.20   Dep Life                                  1.20           19.20
Vision                                     4.82              110.23


Total:                                   200.31          3,562.61     Total:                                  166.53         1,778.84      Total:                                      3.50                56.00



Payment Type                                 Paycheck Numbe,                         Account Type                         Account Numbe,
ADVICE                                       9202842300721                           Savings                              XXXXXXXXXXOO
ADVICE                                       9202842300721                           Checking                             XXXXXX01
ADVICE                                       9202842300721                           Checking                             XXXXXXXXXX19




                                                                                                                                                                                   ACC: 47.32 MATCH: 63.09
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                                                                                                              Whirlpool Corporation

                                       WhirIPcQQ~                                                             2000 NORTH M-63
                                                                                                              BENTON HARBOR MI 49022-2692
                                                                                                              1-888-539-2372


General

Name:               Charlotte Shannon                                   Pay Period:                06/1B12017 - 07/01 /2017                            Federal                            Michigan
Address:            2209 Charles Dr.                                    Check Date:                06/30/2017                                           Mar~al   Slatus :   S                 Marital Status:      S
                    Stevensville MI49127                                Net Pay:                   1,120,14                                             A llowances:        10                Allowances:          10
                                                                                                                                                        Addl Amount:        0,00              Addl Amount:         0,00
Person Number: 92028423 

Cost Center:        25504 TCS Order Mgmt - Hil 


Paycheck Summary

                                                   GrOBS Pay                   Deductions                             Taxes                          Net Pay                Fed Taxable                         FICA Taxable
Current                                              1,577.35                         343.B2                          113,39                         1,120.14                      1,340.30                         1,482.26
YTO                                                22,816,79                        4,434,59                        2,616.66                     15,765.54                       19,770,21                         21,580.62




Description                                                                       Currant                                     YTO                                                                 Amount        YTOAmount
                                                                       Hours                Amount              YTO Hours           YTD                  Federal
Salary                                                                                      1,577,35                                  20,505,55           Withholding                                                   772.34
Bonus Non-Exempt                                                                                                                          1,30B.27        Social Security                            91 ,90         1,338,00
Well ness Rebates                                                                                                                           75.00         Medicare                                   21.49              312,92
Award                                                                                                                                      820.00       Michigan
Vacation                                                                                                           146,00 
                               Withholding                                                   193.40
Unpaid                                                                 -0.50                   -9,86                 -0,50 
                 -9,B6
Paid Excused Absence                                                                                                19,00 

Regular NEX                                                             0,50                   9.86                   0,50 
                 9.B6
Overtime 1 1/2 NEX                                                                                                    3,65 
               107.97




                     Before Tax Deductions                                                         After Tax Deductions 

Description                            Amount        YTDAmount          Description                              Amount 

401(k)                                  141,96            1,810.41      U.Way Donation                               2.77 
                 36,01                                                   3,50
AD &D                                     0 ,60                 7,BO    Loan 03                                     99,30 
               1,290,90
Medical                                  78.46            1,019,98      Dep Life                                     1.20 
                 15.60
Dental                                   11,70              152.10
Vision                                    7.83              101.79




                                            9202842300710                              Savings 
                                    XXXXXXXXXXOO
                                            9202842300710                              Checking 
                                   XXXXXXOI
                                            9202842300710                              Checking 
                                   XXXXXXXXXX19




                                                                                                                                                                                                ACC: 47.32      MATCH: 63.09
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                                                                                                               Whirlpool Corporation
                                                                                                               2000 NORTH M-63
                                                                                                                                                                   )~ ~, :JfJ
                                                                                                               BENTON HARBOR MI 49022-2692
                                                                                                               1-888-539-2372
                                                                                                                                                                   ~ 3 1· ~_o /7
                                                                                                                                                                         I


General

Name:                Charlotte Shannon                                   Pay Period:                07/1612017 - 07/29/20 17                    Federal                              Michigan
Address:             2209 Charles Dr.                                   Check Date:                 07/28/2017                                   Marital Status:     S                   Marital Status:      S
                     Stevensville MI49127                                Net Pay:                   1.094.05                                     Allowances :        10              Allowances:              10
                                                                                                                                                 Addl Amount:        0.00                Addl Amount:         0.00
Person Number: 92028423
Cost Center:         25504 TCS Order Mgmt - Hil

Paycheck Summary

                                                   Gro•• Pay                    Deduction.                             Taxes                  Net Pay                Fed Taxabte                           FICA Taxable
Current                                              1,577.37                          366.84                        1,516.68                 1,094.05                        1,380.56                         1,522.52
YTD                                                 25,416.79                       4,974.61                         2,813.33              17,628.85                         22,106.99                        24,151.40




                                                                       Houl1l                  Amount            YTDHoul1l      YTDAmount         Federal
Salary                                                                                                                            19,874.61        Withhold ing                                                    772.34
Salary                                                                                                                            22,082.90        Social Security                              94.40          1,497.39
Bonus Non-Exempt                                                                                                                   1,308.27        Medicare                                     22.08              350.20
Well nes s Rebates                                                                                                                    75.00      Michigan
Award                                                                                                                               820.00         Withhold ing                                                    193.40
Vacation                                                                                                            146.00
Unpaid                                                                                                               -31.35         -618.22
Paid Excused Absence                                                                                                 19.00
Regular NEX                                                                                                           3.22           63.50
Overtime 1 112 NEX                                                                                                    3.65          107.97
STD - Salaried                                                                              3,785.66                               3,785.66




                      Before Tax Deductions                                                                                                                           Other Taxable Items
Description                             Amount                                                                                                                                            Amount           YTDAmount
401(k)                                   141.96                                                                                                                                                3.50                52.50
AD&D                                       0.60                 9.00
Medical                                   41.23           1,027.98
Dental                                    11 .70             175.50
Vis ion                                    4.82              105.41




                                                                                        Savings 
                               XXXXXXXXXXOO
                                             9202842300720                              Checking 
                              XXXXXX01
                                             9202842300720                              Checking 
                              XXXXXXXXXX19




                                                                                                                                                                                           ACC : 47.32 MATCH: 63.09
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